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             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                :
APPLE INC.                                      :
                                                :
                                                :
                                                :
                                                :
                                                :
                        Plaintiff,              :
                                                :
                        v.                      : Court No. 21-00490
                                                :
UNITED STATES OF AMERICA;                       :
OFFICE OF THE UNITED STATES TRADE               :
REPRESENTATIVE; KATHERINE C. TAI, U.S.          :
TRADE REPRESENTATIVE; U.S. CUSTOMS &            :
BORDER PROTECTION; TROY MILLER, ACTING          :
COMMISSIONER FOR U.S. CUSTOMS AND               :
BORDER PROTECTION,                              :
                                                :
                                                :
                        Defendants.             :
                                                :

                                         COMPLAINT

       Plaintiff Apple Inc. (“Apple”), by and through its attorneys, alleges and states as follows:

       1.       This action concerns Defendants’ imposition of a third and fourth round of tariffs

on products imported from the People’s Republic of China and covered by so-called “List 3” and

“List 4.” Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept.

21, 2018); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug.

20, 2019). It presents the same cause of action for the Plaintiff as was filed in HMTX Industries
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LLC, et al. v. United States, Court No. 20-00177 (Complaint filed September 10, 2020; Amended

Complaint filed September 21, 2020) and In Re Section 301 Cases, Court No. 21-cv- 00052-3JP1.1

         2.       The Office of the United States Trade Representative (“USTR”) conducted an

investigation into China’s unfair intellectual property policies and practices pursuant to Section

301 of the Trade Act of 1974 (“Trade Act”) (19 U.S.C. § 2411). Section 304 of the Trade Act (19

U.S.C. § 2414) required USTR to determine what action to take, if any, within 12 months after

initiation of that investigation. USTR failed to issue List 3 or List 4 within that window.

         3.       USTR may not fall back on its “modification” authority under Section 307 of the

Trade Act (19 U.S.C. § 2417) to salvage List 3 and List 4. Section 307 of the Trade Act does not

permit USTR to expand the imposition of tariffs to other imports from China for reasons untethered

to the unfair intellectual property policies and practices it originally investigated under Section

301 of the Trade Act. Yet that is exactly what Defendants did here when they promulgated the

List 3 and List 4 duties in response to China’s retaliatory duties and other unrelated issues. And

even if USTR deems the existing tariffs “no longer appropriate,” as it also did here, the Trade Act

permits USTR only to delay, taper, or terminate—not ratchet up—the actions it has already taken.

        4.        The arbitrary manner in which Defendants implemented the List 3 and List 4 tariff

actions also violates the Administrative Procedure Act (“APA”). USTR (1) failed to provide

sufficient opportunity for comment, e.g., requiring interested parties to submit affirmative and

rebuttal comments on the same day; (2) failed to consider relevant factors when making its

decision, e.g., undertaking no analysis of the supposed “increased burden” imposed on U.S.

commerce from the unfair policies and practices that it originally investigated; and (3) failed to


        1
         Standard Procedure Order No. 21-01 in In Re Section 301 Cases contemplates that “similar actions may
subsequently be filed in this court.” Pursuant to that Order, Plaintiff requests that the current case be added to the
Schedule of Cases covered by In Re Section 301 Cases.
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connect the record facts to the choices it made. Indeed, despite receiving over 6,000 comments on

List 3, and almost 3,000 comments on List 4, USTR did not address how those comments shaped

its final promulgation of List 3 and List 4. USTR’s decision-making bears no resemblance to the

standards that the APA demands.

       5.       The Court should set aside Defendants’ actions as ultra vires and otherwise

contrary to law, as well as order Defendants to refund (with interest) any duties paid by Plaintiff

pursuant to List 3 and List 4.

                                        JURISDICTION

       6.       The Court possesses subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1581(i)(1)(B), which confers “exclusive jurisdiction” to the Court over “any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for … tariffs, duties, fees, or other taxes on the importation of merchandise

for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(1)(B).

                                            PARTIES

       7.       Plaintiff Apple is a publicly-held company headquartered in Cupertino, California.

Apple designs and markets consumer electronics and accessories. Apple has made numerous

entries of articles, including batteries, personal computers, smartphone parts, smartwatches,

memory modules, and accessories, classified under HTSUS subheadings that are subject to the

additional ad valorem duties under List 3 (e.g., 4202.91.9090, 8473.30.1140, etc.) and List 4A

(e.g., 8471.49.0000, 8517.62.0090, etc.).

       8.       Defendant United States of America received the disputed tariffs and is the

statutory defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).



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       9.       USTR is an executive agency of the United States charged with investigating a

foreign country’s trade practices under Section 301 of the Trade Act and implementing

“appropriate” responses, subject to the direction of the President. USTR conducted the Section

301 investigation at issue and made numerous decisions regarding List 3 and List 4.

       10.      Ambassador Robert Lighthizer formally held the position of U.S. Trade

Representative and served as the director of the USTR. In these capacities, he made numerous

decisions regarding List 3 and List 4. Defendant Ambassador Katherine C. Tai currently serves

as USTR.

       11.      Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects

duties on imports. CBP collected payments made by Plaintiff to account for the tariffs imposed

by USTR under List 3 and List 4.

       12.      Defendant Troy Miller is the Acting Commissioner for CBP. In this capacity, he

oversees CBP’s collection of duties paid by Plaintiff under List 3 and List 4. Prior to his role,

Mark A. Morgan was the Acting Commissioner of CBP while List 3 and List 4 tariffs were being

assessed against Plaintiff’s imports.

                                             STANDING

       13.      Plaintiff has standing to sue because it is “adversely affected or aggrieved by

agency action within the meaning of” the APA. 5 U.S.C. § 702; see 28 U.S.C. § 2631(i) (“Any

civil action of which the Court of International Trade has jurisdiction … may be commenced in

the court by any person adversely affected or aggrieved by agency action within the meaning of

Section 702 of title 5.”). Tariffs imposed by Defendants pursuant to List 3 and List 4 adversely

affected and aggrieved Plaintiff because it was required to pay these unlawful duties.



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                                   TIMELINESS OF THE ACTION

       14.     A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two

years after the cause of action first accrues.” 28 U.S.C. § 2636(i).

       15.     The instant action contests action taken by Defendants that resulted in List 3 and

List 4 and Plaintiff’s obligation to pay tariffs upon importing List 3 and List 4 items. Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018); Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019). Plaintiff’s

claims accrued upon liquidation of its entries subject to List 3 and List 4 tariffs, at which time CBP

determined those duties to be final, and thus Plaintiff has timely filed this action with respect to

all such entries that were not already liquidated as of the date two years prior to this action being

filed. Alternatively, Plaintiff’s claims accrued upon its deposit of List 3 and List 4 tariffs at the

time of entry, and thus Plaintiff has timely filed this action with respect to all such entries filed

within the previous two years of this action. Alternatively, Plaintiff’s claims accrued when USTR

published its List 3 and List 4 notices in the Federal Register, and thus Plaintiff has timely filed

this action with respect to all imports subject to List 4 tariffs for which USTR published its notice

on August 20, 2019, within two years of this action being filed.



                                        RELEVANT LAW

       16.     Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s

trade practices.   19 U.S.C. § 2411(b).        If the investigation reveals an “unreasonable or




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discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs on imports

from the country that administered the unfair practice. Id. § 2411(b), (c)(1)(B).

          17.   Section 304 of the Trade Act requires USTR to determine what action to take, if

any, within 12 months after the initiation of the underlying investigation. Id. § 2414(a)(1)(B),

(2)(B).

          18.   Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or

terminate” an action taken pursuant to Section 301 of the Trade Act either when the “burden or

restriction on United States commerce” imposed by the investigated foreign country’s practice has

“increased or decreased” or when the action “is no longer appropriate.” Id. § 2417(a)(1)(B), (C).

                                  PROCEDURAL HISTORY

I.        USTR’s Investigation

          19.   On August 14, 2017, former President Trump directed Ambassador Lighthizer to

consider initiating a targeted investigation pursuant to Section 301(b) of the Trade Act concerning

China’s laws, policies, practices, and actions related to intellectual property, innovation, and

technology. Addressing China’s Laws, Policies, Practices, and Actions Related to Intellectual

Property, Innovation, and Technology, 82 Fed. Reg. 39,007 (Aug. 17, 2017). According to the

former President, certain Chinese “laws, policies, practices, and actions” on intellectual property,

innovation, and technology “may inhibit United States exports, deprive United States citizens of

fair remuneration for their innovations, divert American jobs to workers in China, contribute to

our trade deficit with China, and otherwise undermine American manufacturing, services, and

innovation.” Id.

          20.   Four days later, on August 18, 2017, USTR formally initiated an investigation into

“whether acts, policies, and practices of the Government of China related to technology transfer,

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intellectual property, and innovation are actionable under [Section 301(b) of] the Trade Act.”

Initiation of Section 301 Investigation; Hearing; and Request for Public Comments: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 82

Fed. Reg. 40,213 (Aug. 24, 2017).

       21.     Seven months later, on March 22, 2018, USTR released a report announcing the

results of its investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Findings of

the Investigation Into China’s Acts, Policies, And Practices Related to Technology Transfer,

Intellectual Property, and Innovation Under Section 301 of The Trade Act of 1974 (Mar. 22, 2018),

available at https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF. USTR found that

certain “acts, policies, and practices of the Chinese government related to technology transfer,

intellectual property, and innovation are unreasonable or discriminatory and burden or restrict U.S.

commerce.” Id. at 17. USTR based its findings on (1) China’s use of foreign ownership

restrictions, foreign investment restrictions, and administrative licensing and approval processes

to pressure technology transfers from U.S. to Chinese companies, id. at 45; (2) China’s use of

licensing processes to transfer technologies from U.S. to Chinese companies on terms that favor

Chinese recipients, id. at 48; (3) China’s facilitation of systematic investment in, and acquisition

of, U.S. companies and assets by Chinese entities to obtain technologies and intellectual property

for purposes of large-scale technology transfer, id. at 147; and (4) China’s cyber intrusions into

U.S. computer networks to gain access to valuable business information, id. at 171. In its report,

USTR did not quantify the burden or restriction imposed on U.S. commerce by the investigated

practices.

       22.     The same date, USTR published a “Fact Sheet” stating that “[a]n interagency team

of subject matter experts and economists estimates that China’s policies result in harm to the U.S.

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economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE,

Section 301 Fact Sheet (Mar. 22, 2018), available at https://ustr.gov/aboutus/policy-offices/press-

office/fact-sheets/2018/march/Section-301-fact-sheet. USTR also indicated that, consistent with

a directive from the former President, it would “propose additional tariffs” of 25% ad valorem “on

certain products of China, with an annual trade value commensurate with the harm caused to the

U.S. economy resulting from China’s unfair policies.” Id.; see Actions by the United States Related

to the Section 301 Investigation of China’s Laws, Policies, Practices, or Actions Related to

Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 13,099 (Mar. 27, 2018).

II.    Lists 1 & 2

       23.     Between April and August 2018 (i.e., within the 12-month statutory deadline from

the initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

undertook a series of actions to remedy the estimated harm to the U.S. economy caused by the

investigated unfair practices, ultimately imposing duties on imports from China covered by the so-

called Lists 1 and 2.

       24.     On April 6, 2018, USTR published notice of its intent to impose “an additional duty

of 25 percent on a list of products of Chinese origin.” Notice of Determination and Request for

Public Comment Concerning Proposed Determination of Action Pursuant to Section 301: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on the proposed list covered

1,333 tariff subheadings with a total value of “approximately $50 billion in terms of estimated

annual trade value for calendar year 2018.” Id. at 14,907. USTR explained that it chose $50

billion because that amount was “commensurate with an economic analysis of the harm caused by

China’s unreasonable technology transfer policies to the U.S. economy, as covered by USTR’s

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Section 301 investigation.” OFFICE     OF THE   UNITED STATES TRADE REPRESENTATIVE, Under

Section 301 Action, USTR Releases Proposed Tariff List on Chinese Products (Apr. 3, 2018),

available at https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/april/under-

section-301action-ustr.

       25.     On June 20, 2018, USTR published notice of its final list of products subject to an

additional duty of 25% ad valorem, a list commonly known as “List 1.” Notice of Action and

Request for Public Comment Concerning Proposed Determination of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had “narrow[ed]

the proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an approximate annual

trade value of $34 billion.” Id. at 28,711.

       26.     At the same time that it finalized List 1, USTR announced that it intended to impose

a 25% ad valorem duty on a second proposed list of Chinese products in order to “maintain the

effectiveness of [the] $50 billion trade action” grounded in its Section 301 investigation. Id. at

28,712. USTR announced a proposed “List 2” covering 284 tariff subheadings with “an

approximate annual trade value of $16 billion.” Id. at 28,711-12.

       27.     On August 16, 2018, USTR published notice of the final list of products subject to

an additional duty of 25% ad valorem in List 2, comprising “279 tariff subheadings” whose

“annual trade value … remains approximately $16 billion.” Notice of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).




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III.   List 3 and List 4

       28.    Following USTR’s announcement of the results of its investigation in March 2018,

Defendants expanded the scope of the tariffs imposed under Section 301 of the Trade Act to cover

imports worth more than $500 billion—ten times the amount it had deemed “commensurate” with

the findings of USTR’s original investigation. Defendants did so for reasons untethered to the

unfair practices that USTR had investigated.

       A.     List 3

       29.    Shortly after the former President directed USTR in April 2018 to consider

imposing duties on $50 billion in Chinese products, China promptly threatened to impose

retaliatory duties on the same value of imports from the United States. In response, the former

President “instructed the USTR to consider whether $100 billion of additional tariffs would be

appropriate under Section 301” due to “China’s unfair retaliation.” THE WHITE HOUSE, Statement

from Donald J. Trump on Additional Proposed Section 301 Remedies (Apr. 5, 2018), available at

https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-

additional-proposed-section-301-remedies/.

       30.    When USTR finalized List 1 in mid-June 2018, the former President warned China

he would consider imposing additional tariffs on Chinese goods if China retaliated against the

United States. E.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on $50 Billion

in Chinese Goods, THE HILL (June 15, 2018), available at http://thehill.com/homenews/

administration/392421-trump-announces-tariffs-on-50-billion-in-chinese-goods.

       31.    On June 18, 2018, the former President formally directed USTR to consider

whether the United States should impose additional duties on products from China with an

estimated trade value of $200 billion—despite USTR having not yet implemented List 1 and List

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2. The former President acknowledged China’s threatened retaliatory “tariffs on $50 billion worth

of United States exports” motivated his decision. THE WHITE HOUSE, Statement from the President

Regarding Trade with China (June 18, 2018), available at https://www.whitehouse.gov/briefings-

statements/statement-president-regarding-trade-china-2/.

       32.     Acknowledging the purpose of the former President’s directive, USTR stated that

it would design the newly proposed duties to address China’s threatened retaliatory measures,

rather than any of the harms identified in its Section 301 investigation. OFFICE OF THE UNITED

STATES TRADE REPRESENTATIVE, USTR Robert Lighthizer Statement on the President’s Additional

China Trade Action (June 18, 2018), available at https://ustr.gov/about-us/policy-offices/press-

office/press-releases/2018/june/ustr-robert-lighthizer-statement-0.

       33.     Despite these warnings from Defendants, China retaliated by imposing 25% ad

valorem tariffs on $50 billion in U.S. goods implemented in two stages of $34 billion and $16

billion on the same dates the United States began collecting its own 25% tariffs under List 1 (July

6, 2018) and List 2 (August 23, 2018).

       34.     About a week after China imposed its first round of retaliatory duties, USTR

published notice of its proposal to “modify the action in this investigation by maintaining the

original $34 billion action and the proposed $16 billion action, and by taking a further,

supplemental action” in the form of “an additional 10 percent ad valorem duty on [a list of]

products [from] China with an annual trade value of approximately $200 billion.” Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83

Fed. Reg. 33,608, 33,608 (July 17, 2018). USTR invoked Section 307(a)(1)(C) of the Trade Act,

pursuant to which USTR “may modify or terminate any action, subject to the specific direction, if

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any, of the President with respect to such action, … if … such action is being taken under [Section

301(b)] of this title and is no longer appropriate.” Id. at 33,609 (citing 19 U.S.C. § 2417(a)(1)(c)).

USTR initially set a deadline of August 17, 2018 for initial comments; August 20-23, 2018 for a

public hearing; and August 30, 2018 for rebuttal comments. Id. at 33,608.

         35.   In its notice, USTR confirmed it had relied on China’s decision to impose

“retaliatory duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as

justification “China’s response to the $50 billion action announced in the investigation and its

refusal to change its acts, policies, and practices”). USTR explicitly tied the $200 billion in its

proposed action to the level of retaliatory duties imposed by China on U.S. imports, noting that

“action at this level is appropriate in light of the level of China’s announced retaliatory action ($50

billion) and the level of Chinese goods imported into the United States ($505 billion in 2017).”

Id.; see also id. (Because “China’s retaliatory action covers a substantial percentage of U.S. goods

exported to China ($130 billion in 2017),” “the level of the U.S. supplemental action must cover

a substantial percentage of Chinese imports.”). Although it pointed to China’s retaliatory

measures, USTR did not identify any increased burdens or restrictions on U.S. commerce resulting

from the unfair practices that USTR had investigated. See id.

         36.   USTR’s contemporaneous press statements corroborated the contents of its notice:

China’s retaliatory duties motivated its proposed action. Ambassador Lighthizer stated that the

proposed action came “[a]s a result of China’s retaliation and failure to change its practice.”

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Statement by U.S. Trade Representative

Robert     Lighthizer    on    Section    301     Action     (July    10,   2018),     available    at

https://ustr.gov/aboutus/policy-offices/press-office/press-releases/2018/july/statement-us-trade-

representative.

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          37.    That same day, the former President suggested that the United States’ trade

imbalance with China supported the decision. @realDonaldTrump, TWITTER (July 10, 2018, 9:17

PM EDT), https://twitter.com/realDonaldTrump/status/1005982266496094209.                  Over the

following weeks, he also expressed his frustration over China’s purported manipulation of its

currency and national monetary policy, as well as his continued displeasure over China’s

retaliatory tariffs and the trade imbalance between the two nations. See, e.g., @realDonaldTrump,

Twitter             (July         20,          2018,            8:43            AM            EDT),

https://twitter.com/realDonaldTrump/status/1020287981020729344;                 @realDonaldTrump,

TWITTER         (July   20,    2018,    8:51    AM        EDT),        https://twitter.com/realDonald

Trump/status/1020290163933630464; @realDonaldTrump, TWITTER (July 25, 2018, 7:20 AM

EDT), https://twitter.com/realDonaldTrump/status/1022079127799701504; @realDonaldTrump,

Twitter (July 25, 2018, 7:01 AM EDT), https://twitter.com/realDonaldTrump/status/1022074

252999225344.

          38.    Within days of these statements, Ambassador Lighthizer announced that, in light

of China’s retaliatory duties, USTR would propose to increase the additional duty from 10% to

25% ad valorem. Rather than addressing the practices that USTR investigated pursuant to Section

301 of the Trade Act, he stated that China “[r]egrettably … has illegally retaliated against U.S.

workers, farmers, ranchers and businesses.”            OFFICE   OF THE     UNITED STATES TRADE

REPRESENTATIVE, Statement by U.S. Trade Representative Robert Lighthizer on Section 301

Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-offices/press-office/press-

releases/2018/august/statement-us-trade-representative.

          39.    Shortly thereafter, USTR, at the direction of the former President, formally

proposed “raising the level of the additional duty in the proposed supplemental action from 10

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percent to 25 percent.” Extension of Public Comment Period Concerning Proposed Modification

of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018).

USTR also set new dates for a public hearing over six days ending on August 27, 2018. See id.;

see also OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Public Hearings on Proposed

Section 301 Tariff List (Aug. 17, 2018) (modifying hearing schedule), available at

https://ustr.gov/about-us/policyoffices/press-office/press-releases/2018/august/public-hearings-

proposed-section-301.

       40.     At the same time, USTR adjusted the deadlines for the submission of written

comments, setting September 6, 2018—less than a month later—as the new deadline for both

initial and rebuttal comments from the public. 83 Fed. Reg. at 38,761. That adjustment, deviating

from its past practices, prevented both USTR and the public from considering initial comments at

the hearing, and left insufficient time for interested parties to review and respond to the initial

comments filed by other parties. USTR also limited each hearing participant to five minutes.

Docket No. USTR-2018-0026, https://beta.regulations.gov/document/USTR-2018-0026-0001.

Despite those obstacles, approximately 350 witnesses appeared at the six-day hearing, and the

public submitted over 6,000 comments. Id.

       41.     Eleven days after receiving final comments from the public, the former President

announced that he had directed USTR “to proceed with placing additional tariffs on roughly $200

billion of imports from China.” THE WHITE HOUSE, Statement from the President (Sep. 17, 2018)

https://www.whitehouse.gov/briefings-statements/statement-from-the-president-4/. Once again,

the former President made clear that China’s response to the $50 billion tariff action (i.e., List 1

and List 2 duties) motived his decision, and he immediately promised to proceed with “phase

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three” of the plan—an additional $267 billion tariff action—“if China takes retaliatory action

against our farmers or other industries.” Id.

       42.     Following the former President’s announcement, USTR published notice of the

final list of products subject to an additional duty, a list commonly known as “List 3.” 83 Fed.

Reg. at 47,974. USTR imposed a 10% ad valorem tariff that was set to rise automatically to 25%

on January 1, 2019. Id. USTR determined that the List 3 duties would apply to all listed products

that enter the United States from China on or after September 24, 2018. Id. USTR did not respond

to any of the over 6,000 comments that it received or any of the testimony provided by roughly

350 witnesses. Id.

       43.     As legal support for its action, USTR cited Section 307(a)(1)(B) of the Trade Act,

which provides that USTR “may modify or terminate any action, subject to the specific direction

… of the President … taken under Section 301 if … the burden or restriction on United States

commerce of the denial of rights, or of the acts, policies, or practices, that are the subject of such

action has increased or decreased.” Id. (brackets omitted). USTR stated that the relevant burden

“continues to increase, including following the one-year investigation period,” adding that

“China’s unfair acts, policies, and practices include not just its specific technology transfer and IP

polices referenced in the notice of initiation in the investigation, but also China’s subsequent

defensive actions taken to maintain those policies.” Id. USTR also cited Section 307(a)(1)(C) of

the Trade Act, arguing that China’s response to the $50 billion tariff action “has shown that the

current action no longer is appropriate” because “China openly has responded to the current action

by choosing to cause further harm to the U.S. economy, by increasing duties on U.S. exports to

China.” Id. at 47,975.



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       44.     The previous Administration announced in December 2018, and again in February

2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25%. Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19, 2018); Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966 (Mar. 5, 2019).

       45.     But in May 2019, USTR announced its intent to raise the tariff rate on List 3 goods

to 25%, effective either May 10, 2019 or June 1, 2019, depending on the day of export. See Notice

of Modification of Section 301 Action: China's Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate

Increase Notice”); see also Implementing Modification to Section 301 Action: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84

Fed. Reg. 21,892 (May 15, 2019). The notice cited China’s decision to “retreat from specific

commitments agreed to in earlier rounds” of negotiations as the basis for the increase in the duty

rate. List 3 Rate Increase Notice, 84 Fed. Reg. at 20,459. Unlike with past imposition of new

tariffs, USTR did not seek public comment but rather simply announced that the increase would

occur. Id.

       46.     Recognizing that List 3 would cause substantial harm to U.S. companies and

consumers, as well as the U.S. economy, USTR in June 2019 invited the public to seek exclusions

from List 3 duties on a product-specific basis. Procedures for Requests to Exclude Particular

Products From the September 2018 Action Pursuant to Section 301: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

29,576 (June 24, 2019).

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       47.      The duties imposed on products covered by List 3 remain in effect as of the date of

this Complaint, with the exception of the limited number of products for which USTR granted

exclusions. See, e.g., Notice of Product Exclusions: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 61,674, 61,675 (Nov.

13, 2019). Plaintiff has imported products not subject to exclusions under List 3 and paid duties

under List 3.

       B.       List 4

       48.      On May 17, 2019, eight days after it published notice of its decision to increase the

duty rate on imports covered by List 3, USTR announced its intent to proceed with another list—

List 4—covering more products subject to additional duties. Under USTR’s proposal, List 4 would

impose an additional duty of 25% ad valorem on products worth $300 billion. Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China's Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84

Fed. Reg. 22,564, 22,564 (May 17, 2019). USTR explained that its decision was motivated by

China’s “retreat[] from specific commitments made in previous [negotiating] rounds [and]

announce[ment of] further retaliatory action against U.S. commerce.” Id.

       49.      Similar to the process it followed for List 3, USTR invited the public to comment

on proposed List 4 and participate in a hearing. Id. The public submitted nearly 3,000 comments.

Docket No. USTR-2019-0004, https://beta.regulations.gov/document/USTR-2019-0004-0001.

Despite the opportunity to comment, the timeline for participation in the hearing left little room

for meaningful input: USTR required witnesses to submit drafts of their testimony by June 10,

2019, some seven days before the deadline for fully developed written comments, and then it again

limited witnesses to five minutes of testimony at the hearing. Id.

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       50.     On August 1, 2019, citing China’s failure to follow through on agricultural

purchases and to reduce exports of fentanyl flowing into the United States, the former President

announced that the List 4 tariffs would become effective September 1, 2019 at a rate of 10% ad

valorem. @realDonaldTrump, TWITTER (Aug. 1, 2019, 1:26 PM EDT), https://twitter.com/real

DonaldTrump/status/1156979446877962243 (noting a “small additional Tariff of 10% on the

remaining 300 Billion Dollars of goods and products coming from China into our Country”).

       51.     On August 20, 2019, USTR issued a final notice adopting List 4 in two tranches.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019).

List 4A would impose a 10% ad valorem duty on goods worth roughly $120 billion, effective

September 1, 2019. Id. at 43,304. List 4B would impose a 10% ad valorem duty on the remaining

goods (with limited exclusions “based on health, safety, national security, and other factors”),

effective December 15, 2019. Id. at 43,305. Once again, USTR did not address any of the nearly

3,000 comments submitted or any of the testimony provided by witnesses, other than to claim that

its determination “takes account of the public comments and the testimony.” Id.

       52.     As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of

the Trade Act, stating that it may modify its prior action taken pursuant to Section 301 of the Trade

Act if (1) “[t]he burden or restriction on United States commerce” imposed by the investigated

foreign country practice “has increased or decreased,” or (2) “the action … is no longer

appropriate.” Id. at 43,304. Instead of finding any increased burden on U.S. commerce from the

practices that were the subject of USTR’s investigation, USTR merely pointed to “China’s

subsequent defensive actions taken to maintain those unfair acts, policies, and practices as



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determined in that investigation,” including retaliatory tariffs on U.S. imports, retreating from

commitments during negotiations, and devaluing its currency. Id.

       53.     Ten days later, USTR published notice of its decision to increase the tariff rate

applicable to goods covered by List 4A and List 4B from 10% to 15%. Notice of Modification of

Section 301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30, 2019). USTR explained that

it increased the tariff rate because, shortly after it finalized List 4A and List 4B, “China responded

by announcing further tariffs on U.S. goods.” Id. at 45,822. USTR once again cited to China’s

retreat from its negotiation commitments and devaluation of its currency as grounds for its action.

Id.

       54.     On December 18, 2019, as a result of successfully negotiating a limited trade deal

with China, USTR published notice that it would “suspend indefinitely the imposition of additional

duties of 15 percent on products of China covered by” List 4B. Notice of Modification of Section

301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 69,447, 69,447 (Dec. 18, 2019). USTR also stated its

intent to reduce the tariff rate applicable to products covered by List 4A, id., an action that

ultimately became effective on February 14, 2020, when USTR halved the applicable duty rate,

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22, 2020).

       55.     In the months that followed, the United States and China implemented the limited

trade deal that they negotiated near the end of 2019. OFFICE OF         THE   UNITED STATES TRADE

REPRESENTATIVE, United States and China Reach Phase One Trade Agreement (Dec. 13, 2019),

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2019/december/united-

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statesand-china-reach. During that time, Defendants declined to impose additional duties on

imports covered by List 4B.

       56.     The duties imposed on products covered by List 4A remain in effect as of the date

of this Complaint, with the exception of the limited number of products for which USTR granted

exclusions. See, e.g., Notice of Product Exclusions: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 48,627 (Aug. 11,

2020). Plaintiff Apple has imported products not subject to exclusions under List 4A and paid

duties under List 4A.




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                                    STATEMENT OF CLAIMS

                                             COUNT ONE

    (DECLARATORY JUDGMENT—VIOLATION OF THE TRADE ACT OF 1974)

       57.      Paragraphs 1 through 56 are incorporated by reference.

       58.      The Declaratory Judgment Act authorizes any court of the United States to “declare

the rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a).

       59.      The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the List 3 and List 4 tariffs.

       60.      Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it

determines that “an act, policy, or practice of a foreign country is unreasonable or discriminatory

and burdens or restricts United States commerce, and action by the United States is appropriate.”

19 U.S.C. § 2411(b). USTR failed to predicate its action giving rise to List 3 and List 4 on any

such determination.

       61.      If USTR concludes upon investigation that a foreign country maintains an unfair

trade practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,” to

take within “12 months after the date on which the investigation is initiated.” 19 U.S.C. §

2414(a)(1)(B), (2)(B). USTR’s action giving rise to List 3 occurred in September 2018 and

USTR’s action giving rise to List 4 occurred in August 2019, both over a year after USTR initiated

the underlying Section 301 investigation on August 18, 2017.

       62.      Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action

taken pursuant to Section 301(b) of the Trade Act when the burden imposed on U.S. commerce

from the foreign country’s investigated unfair acts, policies, or practices increases or decreases.
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19 U.S.C. § 2417(a)(1)(B). Section 307 of the Trade Act, however, does not permit Defendants

to increase tariffs for reasons unrelated to the acts, policies, or practices that USTR investigated

pursuant to Section 301 of the Trade Act. Congress did not authorize USTR to escalate its focused

investigatory findings into an open-ended trade war.

       63.     Section 307 of the Trade Act also authorizes USTR to “modify or terminate” an

action taken pursuant to Section 301(b) of the Trade Act if the initial action taken by USTR “is no

longer appropriate.” 19 U.S.C. § 2417(a)(1)(C). Section 307 of the Trade Act does not authorize

Defendants to increase tariff actions that are no longer “appropriate,” but rather only to delay,

taper, or terminate such actions.

       64.     Plaintiff is therefore entitled to a declaratory judgment that Defendants’ actions

giving rise to List 3 and List 4 are ultra vires and contrary to law.

                                          COUNT TWO

             (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

       65.     Paragraphs 1 through 56 are incorporated by reference

       66.     The APA authorizes the Court to hold unlawful and set aside agency action that is:

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;

(B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).

       67.     Defendants exceeded their authority under the Trade Act in promulgating List 3

and List 4, and therefore acted “not in accordance with the law” and “in excess of statutory

authority” for the reasons set forth in Count One.



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       68.       Defendants failed to offer any evidence for any asserted “increased burden” from

China’s intellectual property policies and practices that were the subject of USTR’s Section 301

investigation.

       69.       Defendants also promulgated List 3 and List 4 in an arbitrary and capricious manner

because they did not provide a sufficient opportunity for comment, failed to meaningfully consider

relevant factors when making their decisions, and failed to adequately explain their rationale.

Defendants’ decision-making resulted in the unlawful imposition of tariffs on imports covered by

List 3, whose value equals $200 billion, and List 4, whose value equals $300 billion.

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                                PRAYER FOR RELIEF

    Wherefore, Plaintiff respectfully requests that this Court

    (1)    declare that Defendants’ actions resulting in tariffs on products covered by List 3

           and List 4 are unauthorized by, and contrary to, the Trade Act;

    (2)    declare that Defendants arbitrarily and unlawfully promulgated List 3 and List 4 in

           violation of the APA;

    (3)    vacate the List 3 and List 4 rulemaking;

    (4)    order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to

           List 3 and List 4 for which Plaintiff is entitled to a refund;

    (5)    permanently enjoin Defendants from applying List 3 and List 4 against Plaintiff

           and collecting any duties from Plaintiff pursuant to List 3 and List 4;

    (6)    award Plaintiff its costs and reasonable attorney fees; and

    (7)    grant such other and further relief as may be just and proper.

                                          Respectfully submitted,


                                           /s/ Michael E. Murphy
                                          Michael E. Murphy
                                          Rajib Pal
                                          Aaron M. Applebaum
                                          Justin R. Becker


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                                    CERTIFICATE OF SERVICE

       Pursuant to U.S. Court of International Trade Rule 4(b) and (h), I hereby certify that on

August 20, 2021, I served a copy of the Summons by certified mail, return receipt requested, upon

the following:

 Attorney-In-Charge                               General Counsel Greta Peisch
 International Trade Field Office                Office of the General Counsel
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                                                    /s/ Michael E. Murphy
                                                    Michael E. Murphy
